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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of California

                   United States of America
                                                                     )
                              v.
                                                                     )
                                                                     )
                            Trent Davis                                  Case No: 1:03-cr-5054 OW W
                                                                     )
                                                                         USM No: 61101-097
                                                                     )
Date of Previous Judgment: 5/22/2006                                     David Porter
                                                                     )   Defendant’s Attorney
(Use Date of Last Amended Judgment if Applicable)

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant  the Director of the Bureau of Prisons X the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 210           months is reduced to 168 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    32               Amended Offense Level:                                             30
Criminal History Category: VI               Criminal History Category:                                         VI
Previous Guideline Range: 210 to 262 months Amended Guideline Range:                                           168       to 210 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated              5/22/2006       shall remain in effect.
IT IS SO ORDERED.

Order Date:         11/24/2009                                                           /s/ OLIVER W. WANGER
                                                                                                  Judge’s signature


Effective Date:                                                             OLIVER W. WANGER, US DISTRICT JUDGE
                     (if different from order date)                                             Printed name and title
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